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            Sealed                                                               United States Courts
Public and unofficial staff access                                             Southern District of Texas
     to this instrument are                                                           &/>ED
   prohibited by court order           UNITED STATES DISTRICT COURT
                                                                                     June 16, 2020
                                        SOUTHERN DISTRICT OF TEXAS
                                                                             David J. Bradley, Clerk of Court
                                              HOUSTON DIVISION


          UNITED STATES OF AMERICA                    §      CRIMINAL NO.
                                                      §
                         vs.                          §         4:20-cr-259
                                                      §
          JORGE RANGEL CHARLES                        §      UNDER SEAL
               and                                    §
          ANDREA MARIE VASQUEZ,                       §
                    Defendants.                       §


                                                 INDICTMENT



          THE GRAND JURY CHARGES THAT:

                                                  COUNT 1

                         Title 18, United States Code, Sections 641, 2
                       Aiding and Abetting Theft of Government Property


                  On or about May 26, 2020, in the Houston Division of the

          Southern District of Texas,

                                          JORGE RANGEL CHARLES
                                                   and
                                          ANDREA MARIE VASQUEZ,

          defendants herein, aiding and abetting each other and others known

          and unknown to the Grand Jury, did knowingly embezzle, steal,

          purloin, and convert to their use or the use of another, a thing

          of value of the United States or of any department or agency

          thereof,       to     wit:    the   Naval       Criminal   Investigative      Service,


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government property, to wit: a 2019 Chevrolet Tahoe; a Colt, MK-

18, fully automatic rifle; a Colt, M-4, fully automatic rifle; a

Knights armament suppressor; night vision optics for a sniper

rifle; and two (2) ballistic vests marked “Special Agent NCIS” on

the back and “Police” on the front, all of which have a value

greater than $1,000.

      In violation of Title 18, United States Code, Sections 641

and 2.



                                          A TRUE BILL


                                            Signature on file


                                          FOREPERSON OF THE GRAND JURY




      RYAN K. PATRICK
      United States Attorney




By:
      HEATHER RAE WINTER
      Assistant United States Attorney




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